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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               5/22/2020
                                                                       :
MIGUEL RIVERA,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-cv-1284 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
NAVIENT SOLUTIONS, LLC,                                                :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        On April 28, 2020, Defendant submitted a motion to dismiss the Complaint. See Dkt.

No. 9. As discussed at the initial pretrial conference on May 22, 2020, it is hereby ORDERED

that Plaintiff will submit his brief in opposition to Defendant’s motion to dismiss by June 16,

2020, and Defendant will submit its reply brief in support of its motion to dismiss by July 7,

2020.


        SO ORDERED.


Dated: May 22, 2020                                        __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
